                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:14-00071
                                                  )      JUDGE CAMPBELL
JOHN BROWN                                        )

                                          ORDER

       Pending before the Court is Defendant John Brown’s Motion for Plea Hearing (Docket

No. 133). The Motion is GRANTED.

       A change of plea hearing is scheduled for December 2, 2014, at 1:00 p.m. Any proposed

plea agreement shall be submitted to the Court by December 1, 2014.

       It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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